             Case 23-90773 Document 2-1 Filed in TXSB on 09/12/23 Page 1 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


    In re:                                                          )    Chapter 11
                                                                    )
    NOBLE HOUSE HOME FURNISHINGS LLC,                               )    Case No. 23-90773 (CML)
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    BEST SELLING HOME DECOR FURNITURE,                              )    Case No. 23-90774 (CML)
    LLC,                                                            )
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    LE POUF, LLC,                                                   )    Case No. 23-90772 (CML)
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    NH SERVICES LLC,                                                )    Case No. 23-90775 (CML)
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    HEAVY METAL, INC.,                                              )    Case No. 23-90776 (CML)
                                                                    )
                                      Debtor.                       )
                                                                    )


                  ORDER (I) DIRECTING JOINT ADMINISTRATION OF THE
             DEBTORS’ CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the joint


1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


DOCS_NY:48186.2 61051/002
          Case 23-90773 Document 2-1 Filed in TXSB on 09/12/23 Page 2 of 4




administration of the Debtors’ Chapter 11 Cases for procedural purposes only and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that ex parte relief is appropriate, it is HEREBY ORDERED THAT:

          1.     The Motion is hereby GRANTED, to the extent set forth herein.

          2.     The above-captioned Chapter 11 Cases are consolidated for procedural purposes

only and shall be jointly administered under case number Case No. 23-90773 (CML).

          3.     Additionally, the following checked items are ordered:

                 a.               One disclosure statement and plan of reorganization may be filed
                        for all cases by any plan proponent.

                 b.             Any of the above-captioned cases not previously assigned to Judge
                        Lopez is transferred to Judge Lopez.

                 c.              Parties may request joint hearings on matters pending in any of the
                        jointly administered cases.

                 d.             Other: See below.


          4.     The caption of the jointly administered cases should read as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                              Chapter 11
 In re:

 NOBLE HOUSE HOME FURNISHINGS LLC,                            Case No. 23-90773 (CML)
 et al.,

                                 Debtors.1




                                                   2
DOCS_NY:48186.2 61051/002
           Case 23-90773 Document 2-1 Filed in TXSB on 09/12/23 Page 3 of 4



1
    The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
    numbers, are: Noble House Home Furnishings LLC (1671); Best Selling Home Decor Furniture, LLC (5580), Le
    Pouf, LLC (8197), NH Services LLC (9626), and Heavy Metal, Inc. (3124). The Debtors’ service address in these
    Chapter 11 cases is: 700 Milam Street, Suite 1300, Houston, TX 77002.


          5.       The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code in every respect.

          6.       A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors other than Noble House Home Furnishings LLC to reflect the joint

administration of these Chapter 11 Cases:

          An order (the “Joint Administration Order”) has been entered in this case directing
          the joint administration of the chapter 11 cases listed below for procedural purposes
          only. The docket in Case No. 23-90773 should be consulted for all matters
          affecting these cases, and all further pleadings and other papers shall be filed
          in and all further docket entries shall be made in such case. The following
          chapter 11 cases are jointly administered pursuant to the Joint Administration
          Order: Noble House Home Furnishings LLC [Case No. 23-90773]; Best Selling
          Home Decor Furniture, LLC [Case No. 23-90774]; Le Pouf, LLC [Case No. 23-
          90772]; NH Services LLC [Case No. 23-90775]; Heavy Metal, Inc. [Case No. 23-
          90776].

          7.       The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these Chapter 11 Cases. A separate claims registry shall be maintained

for each Debtor.

          8.       Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an Order substantively

consolidating their respective cases.

          9.       The Debtors are authorized, but not directed, to take all actions necessary to

effectuate the relief granted in this Order in accordance with the Motion.



                                                           3
DOCS_NY:48186.2 61051/002
         Case 23-90773 Document 2-1 Filed in TXSB on 09/12/23 Page 4 of 4




        10.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        11.      Notice of the Motion as provided therein shall be deemed good and sufficient and

satisfies the requirements of the Bankruptcy Rules and the Local Rules.

        12.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        13.      This Court retains exclusive jurisdiction and power with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.




Dated: ________, 2023                                ____________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE




                                                 4
DOCS_NY:48186.2 61051/002
